Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 1 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 2 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 3 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 4 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 5 of 39




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Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 6 of 39




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Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 7 of 39




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Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 8 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 9 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25       Page 10 of 39




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Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25       Page 11 of 39




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                5
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 12 of 39




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                6
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 13 of 39




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                7
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 14 of 39




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                8
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 15 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 16 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 17 of 39




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Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 18 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 19 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 20 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 21 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 22 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 23 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 24 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 25 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 26 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 27 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 28 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 29 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 30 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 31 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 32 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 33 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 34 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 35 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 36 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 37 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 38 of 39
Case 1:25-cv-00402-AHA   Document 81-1   Filed 05/04/25   Page 39 of 39
